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w¡nnìng over hearts and mlnds to just and sustalnaHe goals                                            HEARTLAND
Board of Directors
Sara M. Evãns, Cha¡r
Semhar Araia
Todd Ot¡s
                                                            Empowerine U - nnhtroduction
Wesley Walker
Bob Weidman                                 EmpowerÍng U is a deep civic empowerment program with wide appl¡cation to
Executive Director               other important commun¡ty goals - the development of social, political, and economic
                                 capital on the part of people with few community networks. Heartland Democracy has
Mary McKinley
                                 worked with a range of participants in a variety of host institutions. We focus on youth;
                                 immigrant communities of people who are finding their way in a new home; people with
Advisorv Councìl                 little or no previous involvement in community or civic affairs; our neighbours who know
Marcia Avner
Harriet Barlow
                                 the hardship of socio-economic disadvantages.
Jeff Blodgett                              The heart of Empowering lJ rests in the development of participants' lasting and
Julia Classen                    deep community (or civic) engagement. Heartland Democracy seeks to train the staff of
Barbara Crosby
Erin Dady                        our host organizations as well. ln this way, we develop social (specifically civic) capital at
Rob Eller-lsaacs                 both an individual and organizational level.
Katherine Fennelly
                                           Through tailored coaching, Empowering u uses self-discovery to advance
Arvonne Fraser
Don Fraser                       participants along a path toward active social, economic, and civic participation.
Becky Glass                      Participants answer questions posed by their coach, moving through their own ranked
Gregory Gray
Joan Growe
                                values; their articulated issues of concern; the worlds of community, government, and
Keith Halleland                  politics; the roles of the media, businesses, houses of worship, community groups, and
Chris Hanson                    other institutions; the roles of culture and history; and the demonstrated power of active
Rachelle Horowitz
George Latimer                   leadership at every level.
Mary Pat Lee                               Depending upon the cohort, Empowering lt can aid participants' preparation for
Patrick Marx
                                community service, organizational leadership, community and civic leadership, networking
Frank Miller
Ted Mondale                     for jobs, educational goal achievement, the building of socio-political networks,
Charles Mundale                 preparation for adulthood, social networking, and wealth creation, among other things.
Donald Ostrom
Sheila Riggs
                                We take time to demonstrate to participants tl¡e possibilities above in order to make clear
Joel Rogers                     the power - for them - of social and civic capital. Coaches challenge and assist every
James Southwick                 participant to identify an issue of interest, connect with an individual working on that
Elonâ Street-Stewart
Kathy Tunheim                   issue, sign up with one civic group, register to vote, and vote, and we track the results,
Paul Williams                   along with other measures of civic involvement.
                                           Using a nationally validated pre- and post-programmatic survey, our evaluator has
                                found statisticallv significant increases in the desire of our participants to get involved in
                                community issues, causes, efforts, and organizations.
                                           ln2074, Empowering u is operating in Minneapolis, st. paul, and Menomonie,
                                Wisconsin, with support from the F.R. Bigelow and St. Paul Foundations, The Minnesota
                                Humanities Center, and the Otto Bremer Foundation. We work with college students at a
                                multicultural student center, Somali-American teenagers, young people living in a group
                                home, New Americans from Nepal, and students at an alternative high school. Our
                                partners include Skyline Towers (a CommonBond community,) 180 Degrees, Twin Cities
                                Risel, Positive Alternatives Group Home, and the University of Wisconsin-Stout. To
                                achieve a wider impact, we wish to "train the trainers" and provide the content and
                                resources to as many host institutions as possible.
                                          Empoweríng U helps participants learn how to network not onlv for communitv
                                                                                                                             we
                                know that cultivøting the roots ol democracy nurtures the rootsof our economy.




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                                                      Sample Comments

              EmpowerÍng U opened my eyes.... I didn't know thqt the public was allowed to go to the Capitol,
              thot you could go and tolk about where the money is going. ...1 didn't know it could come     my         from
              voice to moke a change.
                                  --- Monica, Twin Cities Rise! participant

              We talked about some deep stuff. We learned how to debate with people when you disogree. ... t
              loved that class. It did change me, t had a fear ol thíngs t didn't know øbout, but this class hetped
              me learn how to opproach those things.
                               -- Toby, high school participant
              Heortland Democrøcy was importont to our students and, in my opinion, importont to other young
              people who feel excluded from the politicol process. ... t¡tl hetped our students walk away with q
              better understønding ol this process ond thot it is important for them to be informed, oware, ond a
              port of the process. ... students were included ín a critical díatogue... not just adults talking to
              them. ...lor our students that level of engagement wos powerful and, t hope, tile chonging.
                               -- Claude Maddox, then-Director, Skills for Tomorrow High School

              It was a cool class. ... ln this [program], you get to know more about government ond things we
              don't reolly know about the world ond things that you don't leorn in other c/osses.
                               --- Delisa, high school participant

              Communities with high levels of civic engagement [enjoy] ... lower poverty and unemployment rotes,
              higher median incomes, and lower violent crime rates.
                             --- Professor Matthew Lee, Louisiana State University




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     HEARTLAN           D                                                                     Motivati n g the u n i nvolved
                            Empowering U                                                to participate in community and
                                                                                             providing the tools to do so.




.   Develop curriculum                          o Voting by marginalized          Long-term     o Crime, illnest joblessness,
                                                    communities & youth                             poverty and racial & social
                                                                                  RESULTS
o                                               o   Participation in community,                     inequalities
    Train coaches                What               politics, & self{pvernance     ENGAGE
    of partner groups           We Do           o Dbn¡ty&selfrespect                            o NetÌvork resulting in
o Coach participants                            ¡ Educatir¡n, quality of life,                      increased resources &
                                                    ncial & social equ¡t¡es,                        opportunlt¡es for
                                                    & contr¡but¡on to
                                                                                                    employrnent
                                                    community



                                                o   ldentify core values
                                                a   Address issues ofconcern
                                                                                                o   Boost civic engagement
                                                .   Engage in civil discussion    Mid-term      o   Practice civil discussions
                                People                                                          .
                                                .   Explore & develop             RESULTS           Get involved
                               We Serve             power of self                               o Register to vote
                                                                                    ACT
                                                o   Understand benefits of                      o Vote
                                                    involvement
                                                o   Build   onet network
                                                o   Examine impact of
                                                    community & politics
                                                    on self



                                               Short-term RESULTS
                                                       EMPOWER
                                                                                                    Logic trrodcl cre¿tt:d; 5.:ptember 2012
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                                                               HEARTLAND
EmpowerÍng U
                        Section 1: Framing
                                    At a Glance
Overview            Introduce Empowering U as a whole and then through guided
                    conversation begin to establish trust among participants and
                    with facilitator. When properly framed, administer the pre-
                    programmatic survey. THEN go to the discussion.

Outline                 Introduction
                        Icebreaker
                        Creating a Gracious Space
                        Discussion
                        Closing

Connections to          Begins to make it clear how Empowering U is relevant to
Overall Program         their lives and sets stage for active engagement.
Goal
Desired                 Ø Breakthe ice and create trust
Participant             Ø Create a safe, productive atmosphere or culture in group
Results                 Ø They see what's in it for them
                        Ø They hear what's in it for us, why it's important to us,
                            what our goals are
                        Ø   They are introduced to the circle method
                        Ø   Together with the facilitator they set ground rules:
                            Practice civil, respectful discussion and debate; one
                            speaker at a time
                        Ø   They understand that part of the expectation of their
                            involvement will be to choose an organization and issue
                            with which to engage

Big Questions              What is the history of Empowering U?
                           What is community engagement and why is it important?
                           How is Empowering U relevant in participant's lives?
                           Why does Heartland Democracy care about engaging
                           participants in community life?
                    o      What needs to happen or not happen in the group for
                           them to be engaged?
                    a    ' Who are all of the people in the room?
                    o      What is a grassroots organization or effort?

Materials           Ø     Flip chart and markers or a Smartboard




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                                                                     HEARTLAND
Empowering U
Introduction

                          Introduce yourself, including relevant information
                          about your personal and professional life experience.
                          The goal is to begin to establish trust, credibility, and an
                          appropriate level of openness with participants


                         Then introduce the program.


                         Say something like: Empowering U is a program of an

                         org anization called Heartland Democracy. Heartland

                         Democracy was started by a group of people who have
                         worked in government, politics, and communities. They
                         have seen the fruits of people coming together to solve
                         problems. They now workto help individuals aswell as
                         communiQt groups realize and solidify their own political

                         velues, and take action on specific l'ssues.

                         [If speaking   to   youth:]   They are   particularly interested in
                         working with young people since you all are emerging
                         Ieaders, decision makers, workers, parents, and

                         communiQt members. The founders of the organization

                         care about this work because when more people are
                         engaged in a democracy, it is stronger. When a

                         democracy is stronger so is the economy, the living
                         conditions, the quality of hfe    for    its people, includíng   you
                         and me.


                         We don't always realize       that all of us can make change in
                         our communities if we know how to do it. There's a lot of
                         power in numbers, for example, and we will help you

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Empowering U
                          organize to make the biggest impact possible. Along the
                          way we'll also explore not justwhatyou want to achieve,
                          butwhy. You'II think about your own values and
                          convictions, and learn about all of the factors that affect
                          politics in our communities. In the end, knowing all of this
                          will   help   you understand how to most effectively organize
                          and    use   your own power to make the changes you think
                         your community needs. Heartland Democracy will be a

                         facilitator and helper;youwill       be the oneswho choose

                         what topics to work on, what change you'd like to          see,

                         and what you will do to make that change happen.


                         Fínally, there ls this benefit: social scientists have shown
                         thatwhen people work together to achieve something for
                         their community, they respect each other. That respect

                         from others brings rising feelings of dignity. With respect
                         and dignity comes a deeper happiness. Happiness, in
                         turn, yíelds qll kinds of good thíngs: more dignity, higher
                         goals, self-improvement, a better work ethic: we could go

                         on and on. So this work helps individuals improve their
                         communiQt        -   and improved communities help their
                         residents person by person.       It iswhatwe   caII   a ftirtuous
                         rycle upward."


Icebreaker

                         Use one of your choice or this suggestion: Start off with

                         asking who has a good memory. A couple of people
                         might raise their hands or you might not even get
                         anyone. If you do then you ask for their name and invite

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EmpowerÍng U
                          them to sit next to you to help introduce the first
                          activity.


                          Say something       like: Think about an adjective that
                          descríbes you and starts      with the same letter   as with   your
                          name. For example,l am going to introduce myself, My
                          name   is   Jill Jones and I am joyful.


                         Then point to the person next to you and example:


                         He or she      will say theír name and their adjective but also
                         say my name and my adjective. And          thatwill continue
                         wíth the person next to this person. He/she will say their
                         name and their adjective and as well as repeat my name

                         and my adjective and the person next to me. The
                         challenge for you is to know everyone's name and their

                         adjectives, but we can help you as we go along,



                         Ask everyone if they understand the activity and
                         answer any questions. Give about two minutes for
                         participants to think about their adjectives and then
                         begin. Encourage participants to help each other          if
                         needed. And try to pay attention to the names, because

                         it's an important practice for a facilitator to learn
                         participants' names.


                         When you are done with the game, thank everyone for
                         participating. You can also end the activity by saying
                         how differently and colorfully we have described
                         ourselves and likening this activity to the kinds of


                                                                                           4
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Empowering U
                          positive and diverse conversation you hope to have
                          throughout the sessions.


Creating a Gracious Space
                          The goal of this activity is to establish a set of
                          expectations about how the group will interact so that
                          participants feel safe and comfortable sharing their
                          ideas, opinions, thoughts, and feelings. Use a process of
                         your choosing or the one that follows.


                          Step 1: Setting the Context (5 minutes)-Explain, Our

                          task today is to create a culture thatwill support our
                         gathering,


                         Rightnow, onyour own, think of a timewhenyou've
                         experienced Gracious Space, whatever this means to you.

                         What was the setting? What did you experience?


                         Step 2: Pairing Up (5-10 minutes)-Ask that group

                         members pair up with someone they don't yet know
                         well. Instruct the pairs to share their stories of Gracious
                         Space   with each other for the next five minutes.


                         Step 3: Discussing as a group (1_0 minutes)-Ask the
                         pairs to come together again as a large group. Ask the
                         group, Without retelling your stories, who would like to
                         share some of the characteristics of the Gracious Space
                         you and your partner discussed?




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Empowering U
                          As participants share their characteristics, record them

                          on the flip chart, When they have finished read back the
                          words and ask if there is anything anyone would like to
                          add. Keep this list posted throughout your sessions and

                          refer back to it if necessary.



Discussion

                          1-. What    is a grassroots organization? Can   you think of
                               any examples?
                          2. What is community? PoliticsT     Government? civic?
                               Civics?

                          3.   What is cívíc engagement?
                          4.   Why is civic engagement important?


Closing

                          Ask participants to reflect on the following questions:


                          1. What do you really care about in your own      Iiþ?
                          2. What public situation or problem do you think is of
                          most concern?



                          Then ask them to pay attention beWyeen now and the
                          next section to where other people seem to care about
                          different things than they do.




                                                                                         6
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